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United States District Court
AO 91 (Rev. 11/11) Criminal Complaint Southern District Of Texas

 

UNITED STATES DISTRICT COURDCT 13 2019

for the

David J. Bradley,
Southern District of Texas idJ ad . y, Cleric

 

 

 

United States of America )
Vv. ) q - WM
Andres RAMOS Case No. m-14 -a
YOB: 1994 Citizenship: USC
)
Defendantts)
CRIMINAL COMPLAINT
I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of October 13, 2019 in the county of Starr in the
Southern District of Texas , the defendant(s) violated:
Code Section Offense Description
21 USC 841(a)(1) Knowingly or intentionally possess with intent to manufacture, distribute, or

dispense, a controlled substance; to wit: approximately 217 kilograms of
marijuana, a Schedule | Controlled Substance.

This criminal complaint is based on these facts:

See attachment.

& Continued on the attached sheet.

/s/ Kevin Buechner

 

Complainant's signature

Kevin Buechner, DEA Special Agent

Submitted by reliable electronic means, sworn to and attested Printed name and title
telephonically per Fed. R. Cr. P. 4.1, and probable cause
found on:

Date: 10/13/2019 LAL
Judge's si ignature a
City and state: McAllen, Texas . $cott/Hacker, US Magistrate Judge

[7 / Printed name and title

 

 
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ATTACHMENT |

On October 13, 2019, at approximately 1:00 am, Rio Grande City, Texas, United States Border Patrol
Agents assigned to line watch duties near the “E and S Fields”, an area heavily utilized by narcotics
smugglers, were notified by Aerostat operators that they observed a vehicle travelling south bound
towards the Rio Grande River thru the “E and S Fields”.

Agents observed approximately eight (8) subjects on the Mexican side of the riverbank directly south of
the vehicle. Agents observed the vehicle travel directly towards the riverbank and approximately five
minutes later the vehicle traveled back north from the river bank.

Agents attempted to interdict the suspected load vehicle by activating their overhead lights; however,
the vehicle quickly turned into the parking lot of a building known as “Adult Daycare” and droped off an
unknown male subject.

Agents observed the suspect vehicle turn around at the end of a road known as “Alpha Street” and
begin driving at a high rate of speed. Agents observed the vehicle driving south towards the Rio Grande
River and then proceeded to make several turns around the fields. Moments later, Agents observed the
suspect vehicle drive into the brush, the driver bailed out of the vehicle and fled on foot.

Agents established a perimeter around the thick brush and a Border Patrol K-9 unit quickly arrived on
scene. The K-9 immediately alerted to the scent of the driver and was able to track the driver to a patch
of brush nearby the vehicle. Agents observed an unknown male, who was later identified as Andres
RAMOS, hiding under a patch of thick thorn bushes.

Agents located a total of twenty-five (25) packages of marijuana weighing approximately 217 kilograms
inside the vehicle that RAMOS was driving.

RAMOS, along with the marijuana were transported to the Rio Grande City Border Patrol Station for
processing.

At approximately 3:31-am, DEA Agents Kevin Buechner and Joshua Garza and Norris Macon read Andres
RAMOS his Miranda Warnings and RAMOS requested an attorney present. No further questioning was
conducted on RAMOS.
